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    9
   10                       UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                             NOTICE OF MOTION AND
                   Plaintiff,                     MOTION FOR SUMMARY
   15                                             JUDGMENT ON COPYRIGHT
            v.                                    REGISTRATION INVALIDITY;
   16                                             MEMORANDUM OF POINTS AND
      INTERFOCUS, INC. d.b.a.                     AUTHORITIES IN SUPPORT
   17 www.patpat.com, a Delaware                  THEREOF
      Corporation; CAN WANG, and                   Date: December 6, 2021
   18 individual, and DOES 1-10, inclusive.,       Time: 10:00 am
                   Defendants.                     Courtroom: 8D
   19
                                                  The Hon. Christina A. Snyder
   20
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
          NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT INVALIDITY ISSUE;
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    1        TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2        Please take notice that on December 6, 2021 at 10:00 a.m., in the courtroom
    3 of the Honorable Christine A. Snyder, located at the United States District Court of
    4 the Central District of California, 350 W. 1st Street, Los Angeles, Califnoria,
    5 Courtroom 8D, Defendant InterFocus d.b.a. www.patpat.com (“Interfocus”), will
    6 and hereby does move for summary judgment that all of Plaintiff’s copyright
    7 infringement claims are barred by the invalidity of the copyright registrations on
    8 which they are based as a matter of law.
    9        Said motion is made pursuant to Federal Rule of Civil Procedure 56 on the
   10 grounds that the copyright registrations on which Plaintiff bases its copyright
   11 infringement claims contain significant factual inaccuracies that were known to
   12 Plaintiff when it filed them, and that the Copyright Office would have refused the
   13 registrations if it had known the true facts concerning them as a matter of law.
   14        The motion is based upon this notice of motion and motion, the declarations
   15 of Mark S. Lee filed on November 1, 2021 and filed concurrently with this motion,
   16 the exhibits submitted therewith, and upon such other and further matters as may be
   17 presented at any hearing on this motion. This motion is made following the
   18 conference of counsel pursuant to L.R. 7-3 which took place on July 6, 2021, and
   19 November 1, 2021.
   20                                            RIMON, P.C.
   21 Dated: November 4, 2021
   22                                       By: /s/ Mark S. Lee
   23                                           Mark S. Lee
                                                Zheng Liu
   24
                                                 Attorneys for Defendants and
   25                                            Counterclaim Plaintiffs
   26                                            INTERFOCUS, INC. d.b.a.
                                                 www.patpat.com
   27
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    1                 MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.       INTRODUCTION
    3          Plaintiff admitted facts that support invalidation of Plaintiff’s copyright
    4 registrations. Plaintiff objected that it was improper for Defendant to raise that issue
    5 in the supplemental brief it filed on November 1, 2021. (Concurrently filed
    6 Declaration of Mark S. Lee and Ex. 4 thereto.) Although Defendants believe
    7 Plaintiff’s procedural concerns are without merit, to accommodate them Defendant
    8 now moves for summary judgment on all of the claims in Plaintiff’s complaint on
    9 the grounds that the copyright registrations on which it bases its claim are invalid as
   10 a matter of law for the reasons described below.
   11 II.      RECENT ADMISSIONS ESTABLISH THAT THE THREE
               COPYRIGHT REGISTRATIONS AT ISSUE ARE INVALID AS A
   12
               MATTER OF LAW.
   13
               Neman Brothers’ President1 Yoel Neman, who signed and certified the
   14
        accuracy of the three group copyright registrations at issue (see Dkt. No. 42-1 and
   15
        Exs. 2, 4 and 6) admitted in deposition that those registrations contain significant
   16
        factual inaccuracies that were known to Neman Brothers when it filed them.
   17
               For example, although the registrations claim Neman Brothers is the sole
   18
        author of all the works they identify, Mr. Neman admitted that some of the works
   19
        identified in each registration were authored by third party design studios from
   20
        whom Neman Brothers purchased rights, who are not named as authors or claimants
   21
        in the registrations. (See November 1, 2021 Declaration of Mark S. Lee [“ Nov. 1
   22
   23
   24
   25   1
        Though he admitted he was Neman Brothers’ president in his declaration, Dkt.
   26 No. 42-1 ¶ 2, in deposition he first denied that he was ever its president, then
      claimed he had stopped serving as president about 15 years ago. (November 1, 2021
   27 Declaration of Mark S. Lee [“Nov. 1 Lee Decl.”] and, Ex 1 thereto, Neman Depo.
   28 11:1-3, 12:9-16, 13:13-16, 15:1-4, 17:12-17, and 18:12-20:11.)
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    1 Lee Decl.’] Ex. 1, Yoel Neman Deposition (“Neman Depo.”). 26:16-242 and Exs.
    2 17, 27, and 33.) Indeed, he admitted that two of the three designs at issue in this case
    3 were themselves not authored by Neman Brothers, but instead by two different
    4 European design studios, contrary to the claims made in the registrations. (Id., Nov.
    5 1 Lee Decl. Ex. 1, Neman Depo. 66:12-68:1, 70:11-71:5.) He also admitted that
    6 Neman Brothers cannot find a written assignment for one of the fabric designs at
    7 issue. (Nov. 1 Lee Decl. Ex. 1, Neman Depo. 68:2-19, 70:11-71:5, 86:22-87:12,
    8 120:15-121:15; 122:15-123:11.)3 And, he admitted he and Neman Brothers knew
    9 those facts when he signed and certified the accuracy of the three registrations. (Cf.
   10 Nov. 1 Lee Decl. Ex. 1, Neman Depo. 60:22, 87:21-24,88:1-9, 88:14-19, 89:24-
   11 90:9, 97:17-98:2, 114:12-23, 115:3-14, 116:24-117:4, 117:24-118:5, 118:12-119:4,
   12 129:3-129:19, 133:22-134:124, and Exs. 10, 17, 18, 27, 28 and 33 thereto.) These
   13
   14   2
            Mr. Neman testified:
   15 “Q. And so if I understand you correctly, then, Neman Brothers files…what's called
      a group copyright registration about every month? (cont’d next page)
   16
         “A Yes.
   17
      “Q All right. Does a specific registration typically include both fabric designs that
   18 Neman Brothers purchased and fabric designs that Neman Brothers created together
   19 in the group?
   20     A Yes.” (Lee Decl. Ex. 1, Neman Depo. 26:16-24.)
        3
         This lack of a written assignment alone is itself fatal to any claim of copyright
   21
        ownership of that work. 17 U.S.C. §204 (copyright assignment must be in writing.)
   22   4
            Mr. Neman testified:
   23 “Q Now, consistent with the earlier registrations we talked about, would some of the
   24 designs that are described on this registration have been designs that Neman
      Brothers purchased from other studios?
   25
      “A Yes.
   26
      “Q And some of them may have been works that Neman Brothers created?”
   27 “A Yes.
   28
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    1 factual inaccuracies alone should invalidate these group registrations, because
    2 Copyright Office regulations have required that group registrations of unpublished
    3 works be limited to works by the same author or authors since 1978, as shown
    4 below.
    5         Congress authorized the Copyright Office to dictate the requirements for “a
    6 single registration for a group of related works” in the Copyright Act of 1976. 17
    7 U.S.C. § 408(c)(1). Congress also required that certain group registrations include
    8 only works by “the same individual author.” 17 U.S.C. §408(c)(2).
    9         Consistent with this Congressional mandate, the Copyright Office since 1978
   10 has required that group registrations of unpublished works be limited to collections
   11 of works by the same author or including the same joint author. Calling its original
   12 regulation for such registrations as applying to “unpublished collections” of works,
   13 it required that “[a]ll of the elements [identified in the unpublished collection
   14 registration] are by the same author [or same joint author]” to qualify for such group
   15 registration. 43 FR 965, 966 (Jan. 5, 1978), https://tile.loc.gov/storage-
   16 services/service/ll/fedreg/fr043/fr043003/fr043003.pdf. That language was included
   17 in every regulation covering group registrations of unpublished works until the most
   18 recent regulatory amendments of 2019. See former 37 CFR 202.3(b)(4)(B)(4)
   19 (2010), https://www.govinfo.gov/content/pkg/CFR-2010-title37-vol1/pdf/CFR-
   20 2010-title37-vol1-sec202-3.pdf; Notice of Proposed Rulemaking for Group
   21 Registration of Unpublished Works, 82 FR No. 196, p. 47415, 47416 (October 12,
   22 2017), https://www.govinfo.gov/content/pkg/FR-2017-10-12/pdf/2017-21722.pdf.).
   23       The 2019 amendments to the relevant regulation even more clearly require
   24 that “[a]ll works [identified in the group registration of unpublished works] must be
   25
   26
      “Q And Neman Brothers would've known those facts when it registered these works
   27 for copyright in this registration?
   28 “A Yes.” (Lee Ex. 1, Neman Depo 133:22-134:12.)
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    1 created by the same author or joint authors, and the author and claimant information
    2 for each work must be the same.” 37 C.F.R. § 202.4(c)(5),
    3 https://www.law.cornell.edu/cfr/text/37/202.4. (Emphasis added) That same
    4 amended regulation states that “[t]he applicant must identify the authorship that
    5 each author or joint author contributed to the works, and the authorship statement
    6 for each author or joint author must be the same.” 37 C.F.R. § 202.4(c)(7)(2019),
    7 https://www.law.cornell.edu/cfr/text/37/202.4.; see also, Copyright Office Circular
    8 34 p. 5, https://www.copyright.gov/circs/circ34.pdf (to qualify for group
    9 registration of unpublished works, “[a]ll of the authors must be named as copyright
   10 claimants… [and the registration] must identify the authorship that each author or
   11 joint author contributed to the works…”) (Emphasis added.)
   12         Thus, to qualify as a valid group registration of unpublished works, all of the
   13 authors and co-authors of all of the works in the registration must be the same, all of
   14 the authors also must be the copyright claimants identified in the registrations, and
   15 the contribution of each author or joint author be identified for all of the works in
   16 the group registration. (Id.) These group registrations provide significant cost
   17 savings and other advantages to copyright owners but impose additional burdens on
   18 the Copyright Office in evaluating them, so “compliance with the applicable
   19 regulations should be strictly enforced.” Palmer/Kane LLC v. Rosen Book Works
   20 LLC, 204 F. Supp. 3d 565, 571 (S.D.N.Y. 2016); see also, 82 FR No. 196, p. 47415,
   21 47416 (October 12, 2017) (describing the advantages to copyright claimants but the
   22 potentially onerous burdens on the Copyright Office imposed by group registrations
   23 of unpublished works.)
   24         Neman Brothers’ registrations, which nowhere acknowledge they include
   25 many works authored by undisclosed third-parties different from and not including
   26 Neman Brothers, and which nowhere identify those third parties as claimants (Lee
   27 Decl. Ex. 1 and Exs. 17, 27 and 33 therein), blatantly violate these requirements.
   28
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    1 They constitute a combination of works from different authors, many of whom are
    2 not identified, that is ineligible for group registration of unpublished works under
    3 the Copyright Office regulations by which Neman Brothers purported to file them.
    4         Neman Brother’s registrations also contain numerous other factual errors and
    5 omissions that should invalidate them under the general registration requirements of
    6 17 U.S.C. § 409. The three registrations do not include “the name and nationality or
    7 domicile of the author or authors” for the third-party created works as required by
    8
      17 U.S.C. § 409(2). They do not include a statement that the subgroup of included
    9
      works its employees created were “works made for hire” in violation of by 17
   10
      U.S.C. § 409(4). For the undisclosed third-party works included in each registration,
   11
      the registrations do not include “a brief statement of how the claimant obtained
   12
      ownership of the copyright” as required by by17 U.S.C. § 409(5). Finally, although
   13
      Mr. Neman admitted that many of the works in each registration were later versions
   14
      of previously copyrighted works, and were therefore derivative in nature (Nov. 1
   15
      Lee Decl. Ex. 1, Neman Depo. 89:2-7, 118:12-119:4, and 132:4-133:73), the
   16
      registrations include neither “an identification of any preexisting work or works that
   17
      it is based on or incorporates” a previous work, nor “a brief, general statement of the
   18
      additional material covered by the copyright claim being registered” as mandated by
   19
      17 U.S.C. § 409(9). (Nov. 1 Lee Decl. Ex. 1 and Exs. 17, 27 and 33 therein.)
   20
              The above errors support invalidation of the three copyright registrations at
   21
      issue as a matter of law. Gold Value International Textile, Inc. v. Sanctuary
   22
      Clothing, LLC, 925 F. 3d 1140 (9th Cir. 2019) (affirming summary judgment for
   23
      defendant on copyright infringement claim because the group registration at issue
   24
      knowingly combined published and unpublished fabric designs in violation of
   25
      Copyright Office’s regulations for registration of unpublished collections.)
   26
              However, this Court should not rule on this issue in the first instance. Instead,
   27
      the Ninth Circuit has instructed that “once a defendant alleges that (1) a plaintiff’s
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     1 certificate of registration contains inaccurate information; (2) ‘the inaccurate
     2 information was included in the application for copyright registration’; and (3) the
     3 inaccurate information was included on the application ‘with knowledge that it was
     4 inaccurate,’” this Court should instead submit a request to the Register of
     5 Copyrights pursuant to 17 U.S.C. § 411(b) “to advise the court whether the
     6 inaccurate information, if known, would have caused [it] to refuse registration.”
     7 Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir.
     8 2020). The Ninth Circuit has held it is reversible error not to do so. Unicolors, Inc.,
     9 supra (reversing and remanding judgment for plaintiff because the district court did
   10 not refer the copyright registration validity question to the Copyright Office in the
   11 first instance).
   12          As invalidation of Neman Brothers’ copyright registrations would be fatal to
   13 its copyright infringement claims, this Court should make such a request to the
   14 Copyright Office now, and stay this action until the Copyright Office responds.5 If
   15 the Copyright Office advises that the inaccurate information Neman Brothers
   16 provided would have caused it to refuse the registrations, this Court should
   17 invalidate all three of them and grant summary judgment to InterFocus on Neman
   18 Brothers’ copyright infringement claims herein. Gold Value International Textile,
   19 Inc. v. Sanctuary Clothing, LLC, 925 F. 3d at 1146-47 (granting summary judgment
   20 for defendant based on a Copyright Office determination that it would have denied
   21 the group registration of unpublished fabric designs at issue.)
   22 III.     CONCLUSION.
   23          Summary judgment should be entered in InterFocus’ for all the reasons
   24 described above.
   25
   26   5
       The procedure by which such a request should be made is laid out in Gold Value
   27 International Textile, Inc. v. Sanctuary Clothing, LLC, supra, 925 F. 3d at 1143,
   28 where the Ninth Circuit describes how the district court did so.
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     1
     2                                          RIMON, P.C.
     3 Dated: November 4, 2021
     4                                     By: /s/ Mark S. Lee
     5                                         Mark S. Lee
                                               Zheng Liu
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     7                                          Counterclaim Plaintiffs
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